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                    IN THE UNITED STATES DISTRICT COURT

                  FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   AUGUSTA DIVISION


UNITED STATES OF AMERICA                   )
                                           )
       v.                                  )       CR 115-077
                                           )
JOHNNY BIVENS                              )

                                          _____

                                       ORDER
                                        _____

       Upon consideration of Defendant’s Motion for Reconsideration of Cash Security

Requirement to Post Bail (doc. no. 137), and there being no opposition from the government,

Defendant’s request is GRANTED.

       IT IS THEREFORE ORDERED that Defendant Bivens be released on an unsecured

appearance bond in the amount of $25,000.00.         Defendant shall comply with all other

conditions set forth in the original Order Setting Conditions of Release. (Doc. no. 47.)

       SO ORDERED this 10th day of September, 2015, at Augusta, Georgia.
